Filed 04/14/16                                                  Case 15-14228                                                                     Doc 96
                                                  United States Bankruptcy Court
                                                 Eastern District of California
    In re:                                                                                                     Case No. 15-14228-B
    Oscar Gutierrez                                                                                            Chapter 13
             Debtor
                                                     CERTIFICATE OF NOTICE
    District/off: 0972-1                  User: lbef                         Page 1 of 1                          Date Rcvd: Apr 14, 2016
                                          Form ID: pdf030                    Total Noticed: 4

    Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
    Apr 16, 2016.
    db             +Oscar Gutierrez,   211 Center Street,   Orange Cove, CA 93646-2054
    aty            +Cynthia A. Arroyo,   740 G St #F,   Reedley, CA 93654-2629
    aty            +Glen E. Gates,   2377 W. Shaw Avenue, Suite 101,   Fresno, CA 93711-3438

    Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
    tr              E-mail/Text: bncnotices@meyer13.com Apr 15 2016 01:37:55     Michael H. Meyer,   PO Box 28950,
                     Fresno, CA 93729-8950
                                                                                                TOTAL: 1

                 ***** BYPASSED RECIPIENTS *****
    NONE.                                                                                                               TOTAL: 0

    Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
    USPS regulations require that automation-compatible mail display the correct ZIP.


    I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
    shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
    Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
    Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
    bankruptcy rules and the Judiciary’s privacy policies.
    Date: Apr 16, 2016                                            Signature: /s/Joseph Speetjens

    _

                                          CM/ECF NOTICE OF ELECTRONIC FILING

    The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
    system on April 14, 2016 at the address(es) listed below:
    NONE.                                                                                       TOTAL: 0
Filed 04/14/16         Case Number: 2015-14228      Filed: 4/13/2016 3:33:06 PM
                                          Case 15-14228                                                              Doc 96


                                     UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF CALIFORNIA
                                            CIVIL MINUTE ORDER


        Case Title :        Oscar Gutierrez                                     Case No : 15−14228 − B − 13
                                                                                   Date : 04/13/2016
                                                                                   Time : 01:30

        Matter :            [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                            $176) (eFilingID: 5697015) (msam)


        Judge :             Rene Lastreto II                        Courtroom Deputy : Jennifer Dauer
        Department :        B                                               Reporter : NOT RECORDED


        APPEARANCES for :
        Movant(s) :
        None
        Respondent(s) :
        None


                                                   CIVIL MINUTE ORDER

        Based on the status report filed by the plaintiff in the related adversary proceeding,

        IT IS ORDERED that this matter is continued to May 25, 2016, at 1:30 p.m., in Department B, Courtroom
        13, Fifth Floor, U.S. Courthouse, 2500 Tulare Street, Fresno, California, to be heard with the continued
        status conference. The court adopts the previous U.S.C. § 362(e) findings.




                   Apr 13, 2016
Filed 04/14/16         Case Number: 2015-14228      Filed: 4/13/2016 3:33:06 PM
                                          Case 15-14228                                                         Doc 96


        This document does not constitute a certificate of service. The parties listed below will be served a
        separate copy of the attached Civil Minute Order.


        Oscar Gutierrez
        211 Center Street
        Orange Cove CA 93646

        Michael H. Meyer
        PO Box 28950
        Fresno CA 93729−8950

        Cynthia A. Arroyo
        740 G St #F
        Reedley CA 93721

        Glen E. Gates
        2377 W. Shaw Avenue, Suite 101
        Fresno CA 93711
